
82 So.3d 1226 (2012)
Ann KOTZIAN, Petitioner,
v.
John B. MURPHY, Respondent.
No. 1D12-0125.
District Court of Appeal of Florida, First District.
March 28, 2012.
Jessie L. Harrell and Bryan S. Gowdy of Creed &amp; Gowdy, P.A., Jacksonville, for Petitioner.
William H. Davie, II, of The Davie Law Firm, Green Cove Springs, for Respondent.
PER CURIAM.
The petition for writ of mandamus is granted. Within 30 days, the circuit court shall enter a final judgment in this cause. Because we are confident that the circuit court will comply with this directive, we withhold formal issuance of the writ.
ROBERTS, CLARK, and SWANSON, JJ., concur.
